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       EXHIBIT 1%
    5edacted Version of
Document Sought to be Sealed
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From:                 Kutscher Clark, Martie <MKutscherClark@gibsondunn.com>
Sent:                 Monday, August 8, 2022 4:18 PM
To:                   Lesley Weaver; Matthew Melamed; Anne Davis; Josh Samra; Derek Loeser; Cari Laufenberg; David Ko;
                      Benjamin Gould; Adele Daniel
Cc:                   Daniel Garrie; *** Service-FB-CA_MDL; Regan-Smith, Hannah
Subject:              Re: In re FB: Table Column Names
Attachments:                                                                                       .xlsx;
                                                                           .xlsx


Counsel,

AlthoughnotrequiredbytheSpecialMaster’sorder,wearereproducingtheschemaweprovidedonJune16toinclude
datatype.WearealsoprovidingthisdatafortablesdiscussedattheJune2,2022depositionofMikeDuffeycontaining
                
WeprovidethisdatapursuanttotheprotectiveorderandunderParagraph32oftheSpecialMaster’sAmendedOrder
RegardingProductionofNamedPlaintiffData.

Best,
Martie


Martie Kutscher Clark (she/her/hers)

GIBSON DUNN
Gibson, Dunn & Crutcher LLP
1881 Page Mill Road, Palo Alto, CA 94304-1211
650.849.5348 • MKutscherClark@gibsondunn.com



From:"KutscherClark,Martie"<MKutscherClark@gibsondunn.com>
Date:Thursday,June16,2022at8:37PM
To:LesleyWeaver<lweaver@bfalaw.com>,MatthewMelamed<mmelamed@bfalaw.com>,AnneDavis
<adavis@bfalaw.com>,JoshSamra<jsamra@bfalaw.com>,DerekLoeser<dloeser@kellerrohrback.com>,Cari
Laufenberg<claufenberg@KellerRohrback.com>,DavidKo<dko@kellerrohrback.com>,BenjaminGould
<bgould@KellerRohrback.com>,AdeleDaniel<adaniel@kellerrohrback.com>
Cc:DanielGarrie<DGarrie@jamsadr.com>,***ServiceͲFBͲCA_MDL<ServiceͲFBͲCA_MDL@gibsondunn.com>
Subject:InreFB:TableColumnNames

Counsel,

Attachedareschema(columnnames)foralistofHivetablesforwhichFacebookisproposingtosearchandproduce
datafromastatisticallysignificantsample.

ThislistwasgeneratedusingthesameclassificationsystemusedtogeneratethelistprovidedinFacebook’sApril11,
2022submission,which,asexplainedinitsJune2,2022submission,performsdataclassificationinFacebook’sdata
warehouse.Listsgeneratedfromtheseclassificationsmaydifferduetothetimeperiodforwhichtheyarerun.The

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April11,2022listwasgeneratedforasingleday,andtheattachedlistwasgeneratedusinga30Ͳdaylookback,whichwe
believeismorecomprehensive.Listsmayalsodifferbecauseofthedynamicnatureofthewarehouse,inwhichtables,
ordatawithintables,arebeingcreated,changed,orremoved.Asaresult,theattachedlistisnotexactlythesameas
thelistgeneratedfortheApril11,2022submission.

Best,
Martie


Martie Kutscher Clark (she/her/hers)

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1881 Page Mill Road, Palo Alto, CA 94304-1211
650.849.5348 • MKutscherClark@gibsondunn.com 


Thismessagemaycontainconfidentialandprivilegedinformationforthesoleuseoftheintendedrecipient.Anyreview,
disclosure,distributionbyothersorforwardingwithoutexpresspermissionisstrictlyprohibited.Ifithasbeensentto
youinerror,pleasereplytoadvisethesenderoftheerrorandthenimmediatelydeletethismessage.

Pleaseseeourwebsiteathttps://www.gibsondunn.com/forinformationregardingthefirmand/orourprivacypolicy.




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